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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION

   UNITED STATES, et al.,

                        Plaintiffs,

         vs.
                                                            No. 1:23-cv-00108-LMB-JFA
   GOOGLE LLC,

                        Defendant.


                         GOOGLE LLC’S MOTION TO EXCLUDE
                        THE TESTIMONY OF PROF. ROBIN S. LEE

        PURSUANT TO Rules 403 and 702 of the Federal Rules of Evidence and Rules 26 and 37

 of the Federal Rules of Civil Procedure, Defendant Google LLC (“Google”) moves the Court to

 exclude the testimony of Robin S. Lee, PhD (“Lee”) on market definition and market share

 calculations. The grounds and reasons for granting this motion are stated with particularity in the

 accompanying memorandum of law and exhibits to the Declaration of Bryon Becker in Support of

 Google’s Motion for Summary Judgment and Motions to Exclude.

        A proposed Order is submitted herewith.
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  Dated: April 26, 2024               Respectfully submitted,
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